






NO. 07-06-0353-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



AUGUST 14, 2007



______________________________




ROBERT REYES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE COUNTY COURT AT LAW NO. 1 OF LUBBOCK COUNTY;



NO. 2005-495,451; HONORABLE LARRY B. "RUSTY" LADD, JUDGE



_______________________________



Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

	Following a plea of not guilty, Appellant, Robert Reyes, was convicted by a jury of
driving while intoxicated and sentenced to 120 days confinement.  Presenting a single
issue, he contends the State's evidence was factually insufficient to support his conviction. 
We affirm.

	Appellant was arrested for driving while intoxicated after he struck a bicyclist with
his vehicle.  The collision occurred near a rural intersection east of Lubbock where Reserve
Sheriff's Deputy Daniel Castleman was directing traffic for bicyclists participating in a
triathlon.  At approximately 11:00 a.m., Castleman observed a bicyclist and several
vehicles approaching the intersection.  Wearing a bright-orange reflective vest, he went to
the middle of the roadway and signaled for the lead vehicle to stop.  Unsure whether the
driver of that vehicle saw him, Castleman repositioned himself directly in front of the
oncoming vehicle.  When the driver failed to respond, Castleman realized that the vehicle
was not going to stop and he yelled for the bicyclist to get out of the roadway.  As
Castleman jumped out of the vehicle's path, the driver slammed on the brakes; however, 
he was unable to avoid striking the bicyclist.

	After tending to the bicyclist, who sustained only minor injuries, Castleman identified
Appellant as the driver of the vehicle.  Castleman was assisted at the scene by Reserve
Deputy Eddie Greer.  When Greer asked Appellant for his driver's license information, he
noticed the strong smell of an alcoholic beverage.  A short time later, Castleman and Greer
were joined by Department of Public Safety Trooper Bryan Witt in the investigation of this
incident.  At that time, Trooper Witt also smelled the strong odor of an alcoholic beverage
when talking to Appellant and noticed that Appellant's eyes were bloodshot.  Witt also
noticed that Appellant's speech was slurred and that he "swayed a little bit" when standing. 
Concerned that he was intoxicated, Witt asked Appellant to perform several field sobriety
tests, including the horizontal gaze nystagmus or HGN test.  While conducting the HGN
test, Witt counted six out of six possible clues of intoxication.  Appellant declined to perform
the remaining tests or provide a breath sample for analysis.  Based on his observations,
Witt arrested Appellant for driving while intoxicated.  At his subsequent jury trial, Appellant
was convicted of the offense.  He now challenges the jury's verdict.

	A person commits the offense of driving while intoxicated if he is intoxicated while
operating a motor vehicle in a public place. Tex. Penal Code Ann. § 49.04(a) (Vernon
2003).  "Intoxicated" is defined as not having the normal use of mental or physical faculties
by reason of the introduction of alcohol, or other substances, into the body or having an
alcohol concentration of 0.08 or more.  Id. at § 49.01(2).  By his sole issue, Appellant
contends the State's evidence was factually insufficient to prove beyond a reasonable
doubt that he was intoxicated when he struck the bicyclist. (1)  We disagree.  

	When conducting a factual sufficiency review, we examine all the evidence in a
neutral light to determine whether the jury was rationally justified in finding guilt beyond a
reasonable doubt.  Zuniga v. State, 144 S.W.3d 477, 484 (Tex.Crim.App. 2004 ), overruled
in part by Watson v. State, 204 S.W.3d 404, 415-17 (Tex.Crim.App. 2006).  In doing so,
we must discuss the most important and relevant evidence that supports Appellant's
complaint on appeal.  Sims v. State, 99 S.W.3d 600, 603 (Tex.Crim.App. 2003).  We
cannot reverse a conviction unless we find some objective basis in the record that
demonstrates that the great weight and preponderance of the evidence contradicts the
jury's verdict.  Watson, 204 S.W.3d at 417.  Furthermore, we cannot conclude that
Appellant's conviction is "clearly wrong" or "manifestly unjust" simply because we disagree
with the jury's verdict.  Id.; Cain v. State, 958 S.W.2d 404, 407 (Tex.Crim.App. 1997).

	At Appellant's trial, multiple witnesses testified regarding his intoxication.  Deputy
Greer and Trooper Witt both testified to the odor of an alcoholic beverage when talking to
Appellant.  When questioned, Appellant informed Witt that he had been intoxicated the
previous evening.  Witt testified that he noticed Appellant's bloodshot eyes, slurred speech,
and swaying while standing.  In addition to the six clues of intoxication, Witt also noted that
Appellant had difficulty holding his head still while the HGN test was being administered. 

	Much of this activity was videotaped from Witt's patrol car and a copy of that tape
was introduced into evidence and played for the jury.  A review of that videotape, however,
reveals that the details of that activity were difficult to discern.  Furthermore, on cross-examination, Witt admitted that Appellant was cooperative, followed all instructions, and
was able to tell him his address, height, weight, birth date, and social security number
without any difficulty.  He also conceded that Appellant's bloodshot eyes could have been
caused by the wind or allergies and that he was not familiar with Appellant's normal
speech.  Appellant's sister testified that Appellant was acting "perfectly fine" before the
collision and that his eyes were always red and agitated from blowing dirt.        

	Even so, considering all this evidence in a neutral light, we cannot conclude that
Appellant's conviction was clearly wrong or manifestly unjust.  The testimony of the State's
witnesses alone was sufficient to enable a jury to conclude that Appellant was intoxicated. 
In this regard, the jury, as the exclusive judge of the facts and credibility of the witnesses,
was free to believe or disbelieve any part of a witness's testimony.  Tex. Code Crim. Proc.
Ann. art. 38.04 (Vernon 1979); Goodman v. State, 66 S.W.3d 283, 287 (Tex.Cr.App.
2001).     Appellant's issue is overruled.

	Accordingly, we affirm the trial court's judgment.


							Patrick A. Pirtle

							      Justice


Do not publish.
1. During final arguments, Appellant conceded that the State proved the remaining
elements of the offense. 



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NO. 07-10-00467-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL D

&nbsp;



DECEMBER
2, 2010

&nbsp;



&nbsp;

IN RE LARRY LYNN POSEY, RELATOR.



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and PIRTLE, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;

In this mandamus proceeding, relator Larry Lynn Posey challenges the legality of his
ninety-nine year prison sentence for the offense of engaging in organized
criminal activity.[1]&nbsp; We will deny the petition. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
December 2002, relator was convicted of engaging in
organized criminal activity.&nbsp; Relator challenged his conviction and sentence by direct
appeal[2]
and his petition for discretionary review was denied by the Court of Criminal
Appeals.[3]&nbsp; Relator also avers
he unsuccessfully challenged the trial court proceedings by state and federal
applications for writ of habeas corpus.[4]&nbsp; 

A writ of mandamus may issue in a
criminal case when (1) the relator has no adequate
remedy at law and (2) the act to be compelled is ministerial rather than
discretionary. Ater v. Eighth Court of Appeals, 802 S.W.2d 241, 243 (Tex.Crim.App. 1991).&nbsp;
To obtain relief by mandamus the relator must
show: (1) a legal duty by the trial court to act; (2) a demand for performance;
and (3) a refusal to act.&nbsp; See Stoner v. Massey, 586 S.W.2d 843,
846 (Tex. 1979); In re Chavez, 62
S.W.3d 225, 228 (Tex.App.--Amarillo 2001, orig.
proceeding).&nbsp; Ordinarily, mandamus is not
the proper means of challenging an illegal sentence.&nbsp; See Mizell v. State, 119 S.W.3d 804, 806 (Tex.Crim.App. 2003) (direct appeal or writ of habeas corpus
available to challenge illegal sentence).&nbsp;
But relator asserts he has exhausted available
relief by appeal and habeas corpus.&nbsp;
Under such circumstances, he continues, mandamus is the correct means of
challenging an illegal sentence.[5]


Even assuming, but without deciding, relator lacks an adequate remedy at law, he is not entitled
to relief by mandamus for several reasons.&nbsp;
First, he has not submitted a record as required by Rule of Appellate
Procedure 52.7, and his petition omits the certification required by Rule of
Appellate Procedure 52.3(j).[6]&nbsp; Second, relator
identifies the respondent of his petition as the presiding judge [of the]
100th Judicial District Court of Carson County.&nbsp; According to relator,
the Honorable David McCoy presided over his trial.&nbsp; We take judicial notice that the Honorable
Stuart Messer is now judge of that court.&nbsp;
Relator presents no indication he requested a
judge of the 100th Judicial District Court to grant the relief here requested
and the request was denied or a ruling refused.&nbsp;
Thus, the present proceeding is not a case subject to the abatement
procedure of Rule of Appellate Procedure 7.2.[7]&nbsp; In the absence of record proof that relator demanded performance of Judge Messer and he refused
to act, the writ of mandamus will not issue.

But even had relator
met these formal and substantive prerequisites, a trial court does not abuse
its discretion by refusing to grant relief that is contrary to law.&nbsp; Relator was
convicted on an indictment for engaging in organized criminal activity with an
underlying offense of theft of property with an aggregate value of over
$100,000 but less than $200,000.[8]&nbsp; The indictment alleged thirty-two overt
acts of theft.[9]&nbsp; When amounts are obtained by theft pursuant
to one scheme or continuing course of conduct, whether from the same or several
sources, the conduct may be considered as one offense and the amounts
aggregated in determining the grade of the offense.&nbsp; Tex. Penal Code Ann. §
31.09 (Vernon 2003).&nbsp; Theft of
property with a value of $100,000 or more but less than $200,000 is a felony of
the second degree.&nbsp; Tex. Penal Code Ann.
§ 31.03(e)(6) (Vernon Supp. 2010).&nbsp; Except in circumstances not present here, an
offense under Penal Code § 71.02 is one category higher than the most serious
offense . . . that was committed . . . .&nbsp;
Tex. Penal Code Ann. § 71.02(b) (Vernon Supp. 2010).&nbsp; A felony of the first degree, the next grade
above a felony of the second degree, is punishable by a term in the
penitentiary of life or five to ninety-nine years.&nbsp; Tex. Penal Code Ann. §
12.32(a) (Vernon Supp. 2010).

According to relator,
Penal Code § 71.02 contains no language authorizing aggregation of amounts for
determining the punishment grade of the underlying offense of theft.&nbsp; Rather, he asserts, when multiple acts of
theft are alleged, the offense classification is determined by the theft
involving the greatest property value.&nbsp;
As applied to him, relator explains, the
greatest property value for an individual theft alleged in the indictment was
$20,000 but less than $100,000, a third degree felony.&nbsp; Because § 71.02(b) would elevate that
individual theft to a second degree felony, which is punishable by a term in
the penitentiary of not more than twenty years or less than two years, Tex.
Penal Code Ann. § 12.33(a) (Vernon Supp. 2010), relator
concludes the maximum confinement sentence in his case was twenty years.&nbsp; Relator presents no
controlling authority directing this interpretation. 

We do not find legislative
authorization for the strained reading of § 71.02(a),(b)
relators theory requires.&nbsp; Penal Code § 1.05(a) provides: The rule that
a penal statute is to be strictly construed does not apply to this code.&nbsp; The provisions of this code shall be construed
according to the fair import of their terms, to promote justice and effect the objectives of the code.&nbsp; Tex. Penal Code Ann. §
1.05(a) (Vernon 2003).&nbsp; And §
1.05(b) references the Code Construction Act which in part establishes the
presumption that in enacting a statute the Legislature intended a just and
reasonable result.&nbsp; Tex.
Govt Code Ann. § 311.021(3) (Vernon 2005).&nbsp; Moreover, [i]n
construing a statute, we must give effect to the plain meaning of the text
unless the text is ambiguous or the plain meaning would lead to absurd
results.&nbsp; A statute is ambiguous when it
is capable of being understood by reasonably well-informed persons in two or
more different senses.&nbsp; DeLeon v. State, 294 S.W.3d 742, 747 (Tex.App.--Amarillo 2009, pet. refused).&nbsp; Relator does not
claim ambiguity of the statutory provisions, and we see none.&nbsp; Nor do we see that giving effect to the plain
statutory meaning leads to absurd results.&nbsp;
The grade of theft may be determined by aggregation.&nbsp; Theft is an underlying offense of engaging in
organized criminal activity.&nbsp; The grade
of the offense of engaging in organized criminal activity is determined by the
grade of theft that was committed subject to the application of § 71.02(b).&nbsp; Tex. Penal Code Ann. §
71.02(b) (Vernon Supp. 2010). We find no merit to relators
construction of § 71.02(a).[10]

Relators petition for mandamus is denied.

&nbsp;

Per Curiam

Do not publish.

&nbsp;

Quinn, J., concurring in result only.

&nbsp;











[1]&nbsp; Tex. Penal Code Ann. § 71.02(a) (Vernon Supp. 2010).

&nbsp;





[2] Posey v. State,
No. 07-03-0023-CR, 2005 Tex. App. Lexis 2298 (Tex.App.--Amarillo
2005, pet. refused).

&nbsp;





[3] Posey
v. State, No. PD-0574-05, 2005 Tex. Crim. App.
Lexis 1064 (Tex.Crim.App. July 27, 2005), cert.
dend, Posey v. Texas, 546 U.S. 1038, 126 S.Ct. 743, 163 L.Ed.2d 582 (2005).

&nbsp;





[4] Ex
parte Posey, WR-33,261-04, (Tex.Crim.App. June 2, 2010); Posey v. Quarterman, No. 2:06-CV-0280, 2010 U.S. Dist Lexis
25463 (N.D. Tex. Feb. 24, 2010), adopted
sub nomine, Posey v. Thaler, No. 2:06-CV-0280, 2010 U.S. Dist. Lexis 25456
(N.D. Tex. Mar. 18, 2010).





&nbsp;

[5] For this proposition, relator relies on our decision in In re Gutierrez, No. 07-00-0482-CV, 2000 Tex. App. Lexis 8429 (Tex.App.--Amarillo Dec. 19, 2000, orig. proceeding) (per curiam, not designated for publication).





[6] Relator attaches an inmate
declaration to his petition but omits the required certification of Rule of
Appellate Procedure 52.3(j) that he reviewed the petition and concluded that
every factual statement in the petition is supported by competent evidence
included in the appendix or record.&nbsp; Tex. R. App. P. 52.3(j). 





&nbsp;

[7]&nbsp; A writ of mandamus will not
issue against the new judge of a court for the action of a former judge.&nbsp; Rather Rule of Appellate procedure 7.2
requires abatement of a pending original proceeding so that the successor judge
may consider the complained-of order of his or her predecessor. &nbsp;Tex. R. App. P. 7.2; In re Baylor Medical Center at Garland, 280 S.W.3d 227, 228 (Tex.
2008) (orig. proceeding).

&nbsp;





[8] Tex. Penal Code Ann. § 71.02(a)(1)
(Vernon Supp. 2010) (listing theft among underlying offenses).&nbsp; 





&nbsp;

[9] In Posey, we explained why use of the phrase overt act in the
indictment and charge, though not complained of, was inappropriate.&nbsp; 2005 Tex. App. Lexis 2298,
at *13 n.4.

&nbsp;





[10]&nbsp; It is notable also
that in the same proceeding a person may be charged
with engaging in organized criminal activity and the underlying offense and
punished for both.&nbsp; Garza v. State, 213 S.W.3d 338, 352 (Tex.Crim.App.
2007) (explaining Tex. Penal Code Ann. § 71.03(3)). The fallacy in relators rendering of § 71.02(a) is particularly apparent
when its effect on such prosecutions is considered. 







